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U\TITEV> STZ\""ES DISTRICT COURT
F`OR THE DISTRICT OF` COL.UMBIA

Matthew Sluss

v. Case No 14-0759 (CRC)

United States Dept' of
Justice

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MEMORANDUM IN SUPPORT OF PLAINTIFFS OPPOSITION
TO THE DEFENDANT“S MOTION TO DISMISS

Plaintiff proceeding pro se in the above matter submits this

motion for the courts to consider in the current dispute.

HISTORY

On 8-27-2014 Plaintiff recieved an order from the court to
respond to the Defendant's motion to dismiss before September
30, 2014.
On 9~10-2014 Plaintiff for the first time recieved a copy of
the defendant's motion to dismiss.

On 9-11-2014 Plaintiff mailed a motion for clarification, as
to correctly respond to the Defendant's motion. l also asked
that the court grant an extension of time for the Plaintiff to

respond, as he recieved the Motion to Dismiss late, and I also

asked the court to keep me apprised of any updates on my case.

The next week, approximatly 9-16-2014, Plaintiff submitted a
motion to toll the time while the courts considered the Plaintiff's
motion for clarification.

By 9-28-2014, when the Plaintiff's response was due, he had yet
to recieve any response from the courts. The Plaintiff then filed
his response and noted that it was 'incomplete' and the reasons,

due to a lack of response from the court on his motion to extend.

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As of the filing of this motion, Plaintiff has yet to recieve
any official ruling on his motions, even though they are now moot,
and the plaintiff finds it also currious that the defendant, a
professional law firm, and team of attorneys is granted not one

but two time extensions, but the Plaintiff is not granted his first.

STANDING AND WRIT OF MANDAMUS

In the Plaintiff's October 2nd reply, Plaintiff clearly states
that in support of his position that he "Makes reference to his
original initating document in support of this memorandum." He
is proceeding pro se, is unschooled in the art of law, and asks
the court to grant fairness in any procedural errors he may have
made.

The original complaint has address all of the issues that the
Defendant has raised, and through statute and case law has
effectivly defeated all arguments made by the Defendant. (See
pages l4-l7 and 25,26 of the initating document), also (See pages
l,4,5 of the Plaintiff's memorandum in opposition to the defendants

motion to dismiss.)

TOOR V. HOLDER
For the first time, the Defendant brings up Toor v. Holder.

While the oppionion is ultimatly correct, the Defendant‘s reliance
upon it is misplaced, as it is with Medellin. Toor sued to
compell the agency to unilaterally transfer him to Canada, such
is beyond the jurisdiction of this court. Toor did not argue, nor
did he challenge the reasonings of the decision, or if Article III
Section 6 of the 1977 treaty provided a Webster standard against

which to judge the exercise of agency discretion. Toor also did

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not expressly reject consent to the COE convention.

The instant case before this court is distinct, and will ultimatly
come to the question of: Does Article III, Section 6 of the 1977
Treaty provide a Webster standard against which to judge the use
of agency discretion? The 2223 court did not address this question
nor was it proposed before the court, thus reliance upon this case

by the defendant is misplaced.

THE COE CONVENTION AND THE 1977 CANADAIAN TREATY
Plaintiff in this instant case has tried to make abundantly
clear that at the outset of his application, and at every single
step that he has rejected the COE convention and did not consent
to benefits under it. The Defendant has yet to acknowledge this.

Infact, the Defendant seems strangely surprised, and seems to
indicate that the Plaintiff, for the first time, cites a treaty
other than the convention. In the Plaintiff's initating document
he makes reference to the Treaty Between the United States and
Canada of l977, 30 U.S.T. 6263, atleast seventy (70) times, and
also has clearly rejected the COE convention numerous times,

The Plaintiff also clearly sets the two treaties apart, and
any references to the two treaties by the Defendant that the two
treaties are identical is absurd. While the COE convention does
indeed provide no language for guidance upon the issue of consent,
the Canadian Treaty does. The Defendant also seems flummuxed
that a single section of an article of the treaty could limit

their discretion, but the plain and ordinary language is not hidden

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or obscured, nor is it vauge or misleading, nor using language
that uses words that would need schollarly review to interpert.
The section of the treaty is clear and concise, and devoid of any

language that would give them unfettered discretion.

CONCLUSION

At the end of the day, the Plaintiff has clearly met all of
the requirements for standing before this court, and he has clearly
demonstrated that he owed a clear duty by the Defendant.

l: The unambigious language in the Canadian Treaty indeed does
provide a webster standard against which this court can use
as to judge the use of agency discretion.

2: The treaty is a self-executing treaty. Self executing treaties

? are considered by our constitition to be the supreme law of
the land, and are on equal footing as statutes.

3: The Defendant incorrectly relies upon a Supreme Court ruling
that interperts a non self-executing treaty. That distinction
is what sets the Canadian Treaty apart from treaties that the
Medellin court contemplates, such as the Vienna Convention.

42 The Plaintiff has shown that he has a clear and indisputable
right to relief. The language in treaty article lll(€).

The Defendant has a clear and nondiscretionary duty to
render a decision upon the Plaintiff's application based
only on the permissable factors in the treaty. The agency
informed the Plaintiff that there is no administrative

z*"remedyateithe situation.

The Defendant in this case has failed, in all respects, to

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provide a response to the court's order to show cause. The
Defendant‘s argument is factually based upon the Convention of
Europe's Convention on the Transfer of Sentenced Persons, a
treaty which the Plaintiff wholy rejects. The Defendant has
utterly failed to respond to why the releif sought in this matter,
"a decision by the agency based upon the permissable factors in
the treaty between the United States and Canada on the execution
of penal sentences of l977.ll lt seems that the Defendent has
even failed to read the initating document by posturing that the
Plaintiff "now raises in his opposition" a major and key point
raised over 70 times in his initating document.

For all of the above reasons, the Plaintiff asks this honorable
court to deny the Defendant‘s motion to dismiss, and to grant the
releif sought in full, on the grounds that the Defendant‘s have
failed to provide a meaningful response to the court's show cause
order that addresses the claims of the iniating document, and that
the Defendant adamantly insists upon construing a treaty that the
Plaintiff has wholy rejected consent of.

Respectfully Submitted,

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